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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

STEVEN TERAN,                               §
     Plaintiff,

V.                                          §       CIVIL ACTION NO. 4:18-cv-1866

PETE DIMAS ENTERPRISES, LLC,
      Defendant.                            §       JURY DEMANDED


                            JOINT SECOND STATUS REPORT

       The parties are in settlement negotiations and are attempting to schedule a mediation.

The parties anticipate mediating by the end of January, 2019.

                                                    Respectfully Submitted

                                                    THE BUENKER LAW FIRM

                                                    /s/ Thomas H. Padgett, Jr.
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                                                   ATTORNEY FOR DEFENDANT



                               CERTIFICATE OF SERVICE

       I hereby certify that on December 7, 2018, I caused a copy of the foregoing document to

be filed with the Court using ECF, of which opposing counsel of records is a member.


                                     /s/ Thomas H. Padgett, Jr.
                                    Thomas H. Padgett, Jr.
